         Case 3:20-cv-00495-MMD-WGC Document 20 Filed 12/02/21 Page 1 of 2




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 RICKIE HILL,                                            Case No.: 3:20-cv-00495-MMD-WGC

 4           Plaintiff                                                  Minute Order

 5 v.                                                                   Re: ECF No. 6

 6 J. RUTLEDGE, et. al.,

 7           Defendants

 8

 9 PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

10 DEPUTY CLERK: KAREN WALKER                             REPORTER: NONE APPEARING

11 COUNSEL FOR PLAINTIFF(S): NONE APPEARING

12 COUNSEL FOR DEFENDANT(S): NONE APPEARING

13 MINUTE ORDER IN CHAMBERS:

14          Plaintiff Rickie Hill filed a Motion to Replace SDAG D. Rands, DAG C. Fondi, and

15 DAG R. Bibee.(ECF No. 6.) Plaintiff asserts that Rands is a defendant in his case, 2:20-cv-

16 00684-APG-NJK, and Fondi and Bibee have been indoctrinated to think with a closed mind like

17 Rands.

18          Mr. Rands is assigned to represent the defendant in this case. Therefore, within 10 days

19 of the date of this Order, the Office of the Attorney General shall file a response to Plaintiff’s

20 motion insofar as he seeks to replace Rands in this case. Plaintiff will then have 7 days to file a

21 reply brief.

22

23
          Case 3:20-cv-00495-MMD-WGC Document 20 Filed 12/02/21 Page 2 of 2




 1         Plaintiff’s motion is DENIED insofar as he seeks to replace Fondi and Bibee who are not

 2 assigned to this case.

 3
     IT IS SO ORDERED.
 4
     Dated: December 2, 2021                                 DEBRA K. KEMPI, CLERK
 5
                                                          By: __________/s/_______________
 6
                                                                      Deputy Clerk
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23



                                                  2
